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                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON




NIKE, INC., an Oregon corporation,
                                                                   Case No. 3:14-cv-00696-MO
                  Plaintiff,
                                                   JOINT PROPOSED CASE SCHEDULE
       v.

TUNG WING HO, KYLE KEOKI
YAMAGUCHI, DENISE WEI-CHING
YEE, SHU-CHU YAMAGUCHI, and
JASON M. KEATING,

                  Defendants.


       Pursuant to the Court’s April 24, 2015, Order, Plaintiff Nike, Inc. and Defendant Jason

M. Keating respectfully submit the following joint proposed case schedule.

       1.     In a parallel criminal proceeding, Mr. Keating will be sentenced in USA v. Jason

Michael Keating, United States District Court for the District of Oregon Case No. 3:14-cr-
00282-KI-3, on September 2, 2015.

                                                    JOINT PROPOSED CASE SCHEDULE
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         2.     The parties continue to actively engage in settlement negotiations.

         3.     The filing of a Fed. R. Civ. P. 16 pre-trial order and Fed. R. Civ. P. 26(a)(1) initial

disclosures are waived. Fed. R. Civ. P. 26(f) conferences are also waived.

         4.     In light of the above, the following case schedule is proposed by the parties:


         Date           Event

         8/3/2015       Parties may serve discovery requests

         9/18/2015      Deadline for filing of Amended Answer, if any
                        In light of his 9/2/15 sentencing, Keating may wait until this date
                        to serve responses and objections to Nike’s discovery requests
         9/18/2015      served on or before 8/14/15, and produce responsive documents
                        thereto
         11/13/2015     Close of discovery

         12/4/2015      Dispositive motion deadline

         3/1/2015       Trial

         5.     All other deadlines shall be as provided in the Federal Rules of Civil Procedure

and the Local Rules for the District of Oregon.

         DATED this 8th day of June, 2015.

KEVIN SALI LLC                                      GARVEY SCHUBERT BARER


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                                                       JOINT PROPOSED CASE SCHEDULE
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